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Debtor 1            Yuetina Jia

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:            District o~ Delaware

Case number 19-12220                                                                            ❑ Check if this is an amended filing



Official Form 1226
Chapter 11 Statement of Your Current I~fonthly Income                                                                                                ~2~~s
You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed,attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
               Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


      ❑ Not married. Fill out Column A, Tines 2-11.

      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      ■ Married and your spouse is NOT filing with you. Fill out Column A, Tines 2-11.


   Fill in the average monthly income thax you received from ail sources, derived during the 6 fuH months 1~efore you file tfiis bankruptcy
   case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15,the B-month period would be March 1 through August 39. if tha amount
   of your monthly income varied during the 6 months, add the income for ail 6 months and divide the total by 6. Fill in the result. Do not include any
   income amount more than once. For example, ii kroth spouses own the same rental property, put the income from that property in one column only. if
   you have nothing to report for any 4ine, write ~;0 in thQ space.
                                                                                           Column A                  Column B
                                                                                           Debtor 1                  Bebfor 2


  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                    $
                                                                                            $          50,000.00
     payroll deductions).
  3. Alimony and maintenance          payments.  Do  not include payments  from a spouse if
                                                                                            $                   0.00   $
     Column B is filled in.
  4. All amounts from any source which are regularly           paid for household  expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
                                                                                            $                   0.00   $
     filled in. Do not include payments you listed on line 3.
  5. Net income from operating a
     business, profession, or farm          debtor 1                 Qeb#or 2
     Gross receipts (before all deductions)                         $     0.00
     Ordinary and necessary operating      expenses                -$     0.00
     Net monthly income     from  a  business, profession, or farm $  ___ 0.00 Copy here -> $                   0.00   $

  6. Net income from      rental  and
     other real property                    ~e~~o~'~                 DeAtor 2
     Gross receipts (before   all  deductions)                $           43,810.00
     Ordinary and    necessary   operating expenses         -$                  0.00
      Net monthly income from rental or other real            $           43,810.00 heeY-> $           43,810.00       $
     property




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Debtor 1    YUetlllg Jla                                                                         Case number (if known)

                                                                                                Column A                  Cotumn B
                                                                                                Debtor 1                  Debtor 2

 7. Interest, dividends, and royalties                                                         $               0.00       $
 8. Unemployment compensation                                                                  $               0.00       $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you ....--.-.-.                            _ . _$                 0.00
         For your spouse                                     $
 9. Pension or retirement income. Do not include any amount received that was a                $
     benefit under the Social Security Act.                                                                    0.00       $
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism.
     If necessary, list other sources on a separate page and put the total below.
                                                                                               $                          $
                                                                                                               0.00       $
                 Total amounts from separate pages, if any.                                  + $

  11. Calculate your total current monthly income.
      Add lines 2 through 10 for each column.
                                                                                         $   93,810.00        +$                     _$   93,810.00
      Then add the total for Column A to the total for Column B.




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    Dabtor 1                     Yuetinc~ Jia                                                                                                   _

::Debtor 2         ___...                                                                                                        ....._....-,. _._._..,
 (Spouse, if tiling)

    United States BanRruptcy Court for the:                                       District of Dei~ware

~ Case number                    _ _.             _._.. _        _ .~ .__            _                   _._._.__ _ ---.._.. _ . E                        ❑Check if this is an amended tiling
  (if known)                                                        _ __. . _._.......__.._... ... _ _. .._..__...._ .. _.____._..---1----..              --

Official Form 7 22B
Chapter 11 Statement of Your Cur•ren~ Monthly Income                                                                                                                                                            ~~Z~,s


                     sign Below

                 6y signing here, under p~Ily o(p
                                               .   e''r'''jury i declare that the information on this statement and in any attachments is true and correct
                                                ~~+yy/




t
               X
               ................~.,,_...R......
                                                                   /
                                                 ...:.o.-r im -„~..vl~'-~......r.... ~        .........<...~....~...r..w~o.,.m      ._

                       Yueting Jia
                       Signature of Debtor 1

                        ~~Ct
          Date ~~ ~ ly(
               Mivt!DQ / YYYY
i




Official Form 12203                                                                      Chapter 11 Statement of Your Current Monthly Income                                                                pace 1
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